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                             EXHIBIT 1




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 1    DECLARATION OF DEPUTY DISTRICT ATTORNEY LINDSAY L. LIDDELL

 2        IN SUPPORT OF MOTION FOR PROTECTIVE ORDER RESTRICTING

 3                              PUBLICATION OF DISCOVERY

 4

 5   STATE OF NEVADA

 6   COUNTY OF WASHOE

 7          I, Lindsay L. Liddell do hereby declare, under penalty of perjury, the following:

 8      1. I am a Deputy District Attorney for the Washoe County District Attorney’s Office.

 9   I am the primary attorney handling the defense for the Washoe County Defendants in

10   Drew Ribar v. Washoe County, Nevada et al., case no. 3:24-CV-00526-ART-CLB.

11      2. I attempted to meet-and-confer in good faith with Mr. Ribar on March 11, 2025. I

12   requested a telephonic meet and confer on the protective order issue, providing Mr. Ribar

13   with background on the need for a protective order, the applicable rule, and providing him

14   copies of the harassing emails attached to the Motion as Exhibit 5. Mr. Ribar and I briefly

15   spoke telephonically on March 11, 2025. Mr. Ribar would not telephonically confer unless

16   he could record the conversation, and I did not consent to recording.

17      3. I did not consent to Mr. Ribar recording our conversation in part because I am very

18   disturbed and alarmed by Mr. Ribar’s social media activity and the reactive harassment

19   from his viewers. After speaking to my clients regarding the harassment they experienced

20   after Mr. Ribar posted videos of them, I felt that involving myself in any recording with

21   Mr. Ribar would be highly inappropriate. Additionally, any recording of settlement-type

22   meet-and-confer discussions would tend to chill participation, would be uncomfortable,

23   and would inhibit frank discussion and resolution of issues.

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25                                                         _____________________________
                                                       LINDSAY L. LIDDELL
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